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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


 CENTRAL MAINE POWER CO., et al.,

                       Plaintiffs,

                       v.                           Docket No. 1:23-cv-00450-NT

 MAINE COMMISSION ON
 GOVERNMENTAL ETHICS AND
 ELECTIONS PRACTICES, et al.,

                       Defendants.



                                     NOTICE OF APPEAL

       Pursuant to Fed. R. App. P. 3 and 28 U.S.C. § 1292(a)(1), Defendants hereby appeal to the

United States Court of Appeals for the First Circuit from this Court’s Order (ECF No. 61) on

Plaintiffs’ Motions for Preliminary Injunction (ECF Nos. 4, 22, 25, and 27), granting preliminary

injunctive relief, which was issued on February 29, 2024.


Dated: March 15, 2024                               AARON M. FREY
                                                    Attorney General


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